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                          UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           WESTERN DISTRICT OF KENTUCKY


IN RE:                                 )
                                       )
Austin M New                           )                     CASE NO. 17-11140
Tiffany New                            )                     CHAPTER 7
                                       )
                        Debtor(s)      )
_______________________________________)



                                             ORDER


      The debtor or the debtor’s attorney having moved the Court for a continuance of the Section
341 Meeting in this proceeding:

       IT IS HEREBY ORDERED AND ADJUDGED that the 341 Meeting in this case be
continued to the next available calendar date.

       The Clerk’s Office shall notify all parties in interest of the date, time and location of the
rescheduled meeting.




                                                         Dated: February 18, 2018




sg
